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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                                 Judge Raymond P. Moore

  Civil Action No. 19-cv-02660-RM-SKC

  CHADWICK JORDAN,

         Plaintiff,

  v.

  LISA FORBES, and
  DAVID STEWARD,

        Defendants.
  ______________________________________________________________________________

                                     ORDER
  ______________________________________________________________________________

         Before the Court is Plaintiff’s Motion for Reconsideration (ECF No. 67), seeking relief

  pursuant to Fed. R. Civ. P. 59(e) from the Court’s Order dismissing Plaintiff’s claims against

  Defendant Forbes. The Motion has been fully briefed (ECF Nos. 69, 79) and is denied for the

  reasons below.

  I.     LEGAL STANDARD

         Grounds for granting relief under Rule 59(e) include (1) an intervening change in the

  controlling law, (2) new evidence previously unavailable, and (3) the need to correct clear error

  or prevent manifest injustice. Monge v. RG Petro-Mach. (Grp.) Co., 701 F.3d 598, 611 (10th

  Cir. 2012). But such a motion “cannot be used to expand a judgment to encompass new issues

  which could have been raised prior to issuance of the judgment.” Sprint Nextel Corp. v. Middle

  Man, Inc., 822 F.3d 524, 536 (10th Cir. 2016) (quotation omitted).
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  II.    BACKGROUND

         Plaintiff alleges that Defendant Forbes, a psychotherapist who worked for the University

  of Colorado-Denver, disclosed to other university staff information Plaintiff told her in

  confidence, including the fact that he owned an AR-15 style rifle. On June 1, 2021, the Court

  accepted the magistrate judge’s Recommendation to dismiss Plaintiff’s claims against Defendant

  Forbes, a public employee, because they were barred by the Colorado Governmental Immunity

  Act (“CGIA”). The Court agreed with the magistrate judge’s determination that the allegations

  did not show Defendant Forbes acted heedlessly or recklessly without regard to Plaintiff’s rights.

  The Court also noted that these claims were subject to dismissal on the alternative basis that

  Plaintiff failed to comply with the CGIA’s notice requirement.

  III.   ANALYSIS

         In his Motion, Plaintiff argues that the Court failed to consider his Reply to Defendants’

  Response to his Objection to the Recommendation, which was filed two days after the Court

  issued its Order accepting the Recommendation. However, Fed. R. Civ. P. 72(b) does not

  provide for a reply brief, and Plaintiff cites no other authority for the proposition that he had a

  right to file a reply. Moreover, nothing in the Reply persuades the Court that its Order was in

  error. Accordingly, the Court discerns no basis for relief.

         Plaintiff also argues, as he has throughout this case, that the form he and Defendant

  Forbes signed was a non-disclosure agreement. But the Court has already determined that the

  disclosure statement at issue is not a contract. Plaintiff’s continued insistence on this point does

  not make it so, and the Court discerns no manifest injustice with respect to the analysis set forth

  in either the magistrate judge’s Recommendation or the Court’s Order adopting it.


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         Plaintiff next argues that he complied with CGIA’s notice requirement, referencing a

  document attached to his Reply that was also included in his initial disclosures. (See ECF

  Nos. 51-4, 66-1.) This does not constitute new evidence that was previously unavailable for

  purposes of Fed. R. Civ. P. 59(e). And in any event, the failure to comply with the notice

  requirement was an alternative basis for dismissing the claims against Defendant Forbes. Thus,

  no relief is available based on this evidence.

         Finally, Plaintiff argues that the Order erroneously reflects that he was being required to

  see Defendant Forbes. But even if he is correct, that is not a material fact that would change the

  outcome of his case. As a result, the Court declines to reconsider this aspect of its Order.

  IV.    CONCLUSION

         Therefore, the Court DENIES Plaintiff’s Motion (ECF No. 67).

         DATED this 5th day of October, 2021.

                                                        BY THE COURT:



                                                        ____________________________________
                                                        RAYMOND P. MOORE
                                                        United States District Judge




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